         Case 1:18-cv-00204-TCW Document 192 Filed 05/08/18 Page 1 of 3




                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                 BID PROTEST

FMS INVESTMENT CORP., et al.,       )
                                    )
        Plaintiffs,                 )
                                    )
v.                                  )               Case No. 18-204C (consolidated)
                                    )
THE UNITED STATES,                  )               Judge Wheeler
                                    )
        Defendant,                  )
                                    )
and                                 )
                                    )
PERFORMANT RECOVERY, INC.,          )
et al.,                             )
                                    )
        Defendant-Intervenors.      )
                                    )
____________________________________)

 PLAINTIFF ACCOUNT CONTROL TECHNOLOGY, INC.’S NOTICE REGARDING
                 DEFENDANT’S MOTION TO DISMISS

       On May 7, 2018, the Government filed a motion to dismiss this protest pursuant to Rule

12(b)(1) of the Rules of the United States Court of Federal Claims. ECF No. 189. The

Government’s motion is based on the Agency’s cancellation of the Solicitation and termination

for convenience of the contract awards to Performant Recovery, Inc. and Windham

Professionals, Inc. Id.

       Also on May 7, 2018, the Court ordered all parties in this litigation to file a notice with

the Court indicating whether or not they plan to oppose the Government’s motion to dismiss.

ECF No. 190. Plaintiff Account Control Technology, Inc. respectfully submits this response to

the Court’s order and states that it intends to oppose the Government’s motion.
       Case 1:18-cv-00204-TCW Document 192 Filed 05/08/18 Page 2 of 3



                                 Respectfully submitted,

Dated: May 8, 2018               SHEPPARD MULLIN RICHTER & HAMPTON LLP


                                 /s/ Jonathan S. Aronie
                                 Jonathan S. Aronie
                                 2099 Pennsylvania Avenue NW, Suite 100
                                 Washington, DC 20006-6801
                                 Telephone (202) 747-1902
                                 Direct Facsimile (202) 747-3802
                                 Email: jaronie@sheppardmullin.com

                                 Counsel for Plaintiff Account Control Technology,
                                 Inc.




                                     -2-
        Case 1:18-cv-00204-TCW Document 192 Filed 05/08/18 Page 3 of 3



                              CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was served on all parties

electronically via the CM/ECF system on this 8th day of May 2018.




                                           /s/ Jonathan S. Aronie
                                           Jonathan S. Aronie




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